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 3

 4
                         UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF WASHINGTON

 6
   THE ESTATE OF CINDY LOU HILL, by No. 2:20-cv-00410-MKD
 7 and through its personal representative,
   Joseph A. Grube; and CYNTHIA
 8 METSKER, individually,                   REPLY DECLARATION OF EDWIN
                                            S. BUDGE IN SUPPORT OF
 9                            Plaintiffs,   PLAINTIFFS’ SPOLIATION MOTION
                 vs.
10
   NAPHCARE, INC, an Alabama
11 corporation; HANNAH GUBITZ,
   individually; and SPOKANE COUNTY,
12 a political subdivision of the State of
   Washington,
13
                              Defendants.
14

15         EDWIN S. BUDGE, declare as follows:

16         1.    I am over the age of 18, am competent to testify in this matter, and

17 make this declaration based on my personal knowledge.

18         2.    I am one of the attorneys for the plaintiffs in this matter.

           3.    Nearly ten months ago, on March 22, 2021, counsel for Spokane
19
     County produced a variety of jail surveillance videos to my office in response to
20
     Plaintiffs’ Requests for Production. These included a myriad of camera angles and
21
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 1 views, such as views of a lobby area, elevators, a sally port area, a module area, and

 2 other angles with little or no relevance to the instant litigation. Among the videos

 3 produced on that date was a video of approximately seven hours and 26 minutes of
     footage showing a hallway that is different from the hallway outside Cell 2W27.
 4
     This surveillance footage depicts a wide hallway with black file containers fastened
 5
     to a wall on the left side of the screen, along with a curved desk area on the right
 6
     side of the screen. True and correct copies of screenshots from this video are
 7
     attached hereto as Exhibits A.1, B.1, C.1, D.1, and E.1. At the far end of this
 8 hallway, one can see a doorway that appears to lead to the hallway that contained

 9 Ms. Hill’s cell. For much of the video, even that that doorway is mostly obscured.

10         4.    The relevant hallway, however, is the hallway directly outside Cell

11 2W27 as described in detail in Plaintiffs’ December 17, 2021 Rule 37(e) Motion for

12 Default Judgment and Other Sanctions Against Defendant Spokane County for
     Spoliation of Evidence and supporting materials. This video is of the hallway
13
     immediately outside cell 2W27 where Cindy Hill was confined on her last day in the
14
     jail. Of the 2W27 hallway video, Spokane County only produced two segments. One
15
     such segment, approximately 32 minutes in length, runs from approximately 9:43
16
     a.m. to 9:15 a.m. The other segment, approximately 2 and ½ hours in length, runs
17 from approximately 4:00 p.m. to 6:30 p.m. No video from the relevant 2W27

18 hallway has ever been produced for the approximately 6-hour-and-45-minute period

19 between 9:15 a.m. and 4:00 p.m. when all of the alleged activity critical to this case

20 took place.

21
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 1         5.     True and correct copies of screenshots from the preserved segments of

 2 2W27 Hallway Video are attached hereto as Exhibits A, B, C, D, and E. This video

 3 depicts a narrow hallway with cells on the right-hand side of the screen. One such
     cell contains the stenciled number “2W29” above the cell door in black letters. Two
 4
     doors beyond that is Cell 2W27.
 5
           6.     By comparing the two videos (the 2W27 hallway video with the other
 6
     video referenced above), it is easy to demonstrate that the camera view from the
 7
     spoliated section (i.e., the 2W27 hallway video) is entirely different from, and vastly
 8 superior to, the view shown by the other video the County’s lawyer incorrectly

 9 claims “rectif[ies]” its destruction of evidence. In fact, as stated, the other video is

10 from a different hallway and does not even show Cell 2W27 or any of the adjacent

11 cells in that hallway. This is demonstrated in the series of screenshots attached
     hereto as Exhibits A, A.1, B, B.1, C, C.1, D, D.1, E, and E.1 created by my office
12
     from the produced video to illustrate the distinction.
13
           7.     Exhibit A is a screenshot from the crucial 2W27 hallway surveillance
14
     camera at 9:10:22 a.m. This screenshot is part of the limited morning segment the
15
     County properly preserved and produced. The 9:10:22 a.m. screenshot shows that
16 Cindy Hill has been taken in a wheelchair to Cell 2W27. The video shows Ms. Hill

17 sitting in the wheelchair with a female officer, directly outside Cell 2W27 just

18 before being put inside the cell. Exhibit A.1 is a screenshot from the exact same

19 time, taken from the other video that the County references in its response brief. The
     screenshot from that video—recorded simultaneously with the 2W27 hallway
20

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 1 video—shows none of what can been seen in the 2W27 video. Ms. Hill not visible.

 2 Her cell is not visible. The female officer is not visible. No adjacent cells are visible.
     It is a different video taken of different hallway in a different location.
 3
            8.    Exhibit B is a screenshot from the crucial 2W27 hallway surveillance
 4
     camera at 4:26:46 p.m. This screenshot is part of the limited afternoon segment the
 5
     County properly preserved and produced. The 4:26:46 p.m. screenshot shows a jail
 6
     officer with his hands on the outside of Cell 2W27, peering in through the glass
 7
     viewing window. Exhibit B.1 is a screenshot from the exact same time, taken from
 8 the other video referenced by the County in its response brief. The screenshot from

 9 that video—again, recorded simultaneously with the hallway video in question—

10 clearly shows that it is from a different part of the jail in a different hallway. The

11 officer is not visible. Ms. Hill’s cell is not visible. No adjacent cells are visible. It is
     a different video taken of a different hallway in a different location.
12
            9.    Exhibit C is a screenshot from the crucial 2W27 hallway surveillance
13
     camera at 4:28:27 p.m. This screenshot is part of the limited afternoon segment the
14
     County properly preserved and produced. The 4:28:27 p.m. screenshot shows a jail
15
     officer with his right hand at the food slot on the outside of Cell 2W27. Exhibit C.1
16 is a screenshot from the exact same time, taken from the other video referenced by

17 the County in its response brief. The screenshot from that video—again, recorded

18 simultaneously with the hallway video in question—clearly shows that it is from a

19 different part of the jail in a different hallway. The officer is not visible. Ms. Hill’s
     cell is not visible. No adjacent cells are visible. It is a different video taken of a
20
     different hallway in a different location.
21
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 1         10.    Exhibit D is a screenshot from the crucial 2W27 hallway surveillance

 2 camera at 5:25:19 p.m. This screenshot is part of the limited evening segment the
     County properly preserved and produced. The 5:25:19 p.m. screenshot shows a jail
 3
     officer standing at the door outside of Cell 2W27 when Ms. Hill was first found
 4
     unresponsive inside. Exhibit D.1 is a screenshot from the exact same time, taken
 5
     from the other video referenced by the County in its response brief. The screenshot
 6
     from that video—again, recorded simultaneously with the hallway video in
 7
     question—clearly shows that it is from a different part of the jail in a different
 8 hallway. The officer is not visible. Ms. Hill’s cell is not visible. No adjacent cells

 9 are visible. It is a different video taken of a different hallway in a different location.

10         11.    Exhibit E is a screenshot from the crucial 2W27 hallway surveillance

11 camera at 5:26:32 p.m. This screenshot is part of the limited evening segment the
     County properly preserved and produced. The 5:26:32 p.m. screenshot shows a
12
     group of people in the hallway outside of Cell 2W27 when Ms. Hill has just been
13
     dragged from her cell into the jail hallway. Exhibit E.1 is a screenshot from the
14
     exact same time, taken from the other video referenced by the County in its response
15
     brief. The screenshot from that video—again, recorded simultaneously with the
16 hallway video in question—clearly shows that it is from a different part of the jail in

17 a different hallway. No people are visible. Ms. Hill’s cell is not visible. It is a

18 different video taken of a different hallway in a different location.

19         12.    On January 4, 2022, I received a telephone call from John Justice, the

     attorney for Spokane County. Mr. Justice stated that his office had located
20
     surveillance video that had not been earlier produced in discovery. Mr. Justice stated
21
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 1 that he did not know why his office failed to produce the video, that it was an error

 2 committed by his office, and that new video would be produced later that same day.
     Mr. Justice sent an email shortly after the conversation, stating that he would be
 3
     producing a “segment [that] was somehow not included” in earlier production “that
 4
     depicts the hallway outside of 2W27 from approximately 9:30 a.m. until 5 p.m.” A
 5
     true and correct copy of this email from Mr. Justice is attached hereto as Exhibit F.
 6
     Later that day, the County’s lawyer did, in fact, produce jail surveillance video by
 7
     providing a Dropbox link in an email. I then reviewed that video, expecting to see
 8 novel or different video from what the County had produced earlier in the litigation

 9 on March 22, 2021.

10          13.    Surprisingly, however, the video produced by the County’s lawyer on

11 January 4, 2022 turned out to be nothing other than a duplicate of video footage that
     the County had produced on March 22, 2021. There is nothing new or different
12
     about the video produced on January 4, 2022 compared to the video produced on
13
     March 22, 2021. It is the same video footage we’ve had for nearly ten months. And
14
     while it includes seven hours and 26 minutes of jail surveillance from a different
15
     hallway, this surveillance is not, as the County’s counsel now claims, “from the
16 hallway outside cell 2W27” and it is video of a different hallway that appears to be

17 in the 2-West section of the jail or its vicinity. It is not the video that is the subject of

18 the instant motion. None of the cell doors that line the hallway outside of Cell 2W27

19 can be seen in this video so it is not possible to accurately tell from it whether any
     person specifically visits Cell 2W27 at any time. While this other video it appears to
20
     be in the general vicinity of the relevant hallway and shows a door in the far
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 1 distance that appears to lead to the 2W27 hallway, it is not (unlike the video that

 2 was spoliated) video of the hallway itself.
           14.    In my declaration of December 17, 2021, I described the Rule 30(b)(6)
 3
     deposition of Spokane County, through its designee, Don Hooper. The County did
 4
     not permit the deposition to occur until July 21, 2021. The Rule 30(b)(6) deposition
 5
     transcript was generated by the court reporter on July 27, 2021, and the County’s
 6
     Rule 30(b)(6) designee had 30 days after that to review and correct the transcript.
 7
     Moreover, the County did not permit the deposition of the Director of Spokane
 8 County Detention Services until August 16, 2021. That transcript was generated on

 9 August 23rd, and the deponent had until 30 days after that to review and correct the

10 transcript. Plaintiffs filed their motion less than two months after that. The motion

11 was filed well in advance of the dispositive motions deadline set by the Court (see
     ECF 14) and nearly seven full months before trial.
12
           I declare under penalty of perjury under the laws of the United States that the
13
     foregoing statements are true and correct.
14
           Executed this 11th day of January, 2022, at Seattle, Washington.
15
                                                    s/ Edwin S. Budge__________
16                                                  Edwin S. Budge

17

18

19

20

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 1                               CERTIFICATE OF SERVICE

 2         The undersigned certifies that on the date stated below this document was

 3   filed with the Clerk of the Court for the United States District Court for the

 4   Eastern District of Washington, via the CM/ECF system, which will send

     notification of such filing to the following e-mail addresses:
 5
     Ketia B. Wick, WSBA #27219                     John E. Justice, WSBA #23042
 6   Erin E. Ehlert, WSBA #26340                    Law, Lyman, Daniel, Kamerrer &
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 9   Attorneys for Defendants NaphCare, Inc.,       Attorney for Defendant Spokane
     and Hannah Gubitz                              County
10

11
          Dated this 11th day of January, 2022.
12

13                                          s/ Edwin S. Budge
                                           Edwin S. Budge
14

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